Case 2:13-cr-00096-WHW   Document 28   Filed 03/20/13   Page 1 of 8 PageID: 94



                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA,        :
                 Plaintiff,      :
                                 :         Criminal No. 13-96 (WHW)
     v.                          :
                                 :
LINDA YARLEQUE                   :            ORDER FOR DISCOVERY
                  Defendant(s)   :


     In order to eliminate unnecessary motions for discovery in

this case, to eliminate delays in the presentation of evidence

and the examination of witnesses, and to expedite the trial

pursuant to the provisions of the Speedy Trial Act of 1974,

IT IS ORDERED:

     1.    Conference.   Within ten (10) days from the date hereof

the attorneys representing the United States and the defendant

shall meet or confer to seek to resolve any discovery issues

prior to the filing of motions, and the United States shall

permit the defendant to inspect, and shall permit defendant to

photograph or copy, or shall furnish a photograph or copy of:

     (a)   All statements of the defendant required to be

     produced under Rule 16(a)(1)(A), Fed. R. Crim. P.

     (b)   Defendant’s prior criminal record as required by Rule

     16(a)(1)(B), Fed. R. Crim. P.

     (c) All documents and tangible objects required to be

     produced under Rule 16(a)(1)(C), Fed. R. Crim. P.
Case 2:13-cr-00096-WHW   Document 28   Filed 03/20/13   Page 2 of 8 PageID: 95



     (d)   All reports of examinations and tests required to be

     produced under Rule 16(a)(1)(D), Fed. R. Crim. P.

           (e)   All summaries of expert witnesses’ testimony,

     required to be produced under Rule 16(a)(1)(E), Fed. R.

     Crim. P.    The summaries provided shall describe the

     witnesses’ opinions, the bases and reasons therefor, and

     the witnesses’ qualifications.

     (f)   Any material evidence favorable to the defense related

     to issues of guilt, lack of guilt or punishment which is

     known or that by the exercise of due diligence may become

     known to the attorney for the United States, within the

     purview of Brady v. Maryland and its progeny.

     (g)   If there is more than one defendant named in the

     indictment, and if the United States intends to introduce

     into evidence in its case-in-chief a confession made to law

     enforcement authorities by one defendant which names or

     makes mention of a co-defendant, then the United States

     must make a copy of that statement or confession available

     to counsel for the non-declarant defendant, along with a

     proposal for its redaction to conform with the requirements

     of Bruton v. United States.       If the government makes no

     such disclosure and turnover within the time period

     allowed, the confession may not be received at a joint

     trial of the declarant and non-declarant defendants.             If,
Case 2:13-cr-00096-WHW   Document 28   Filed 03/20/13   Page 3 of 8 PageID: 96



     within ten (10) days after the receipt of the confession

     and its redacted version, counsel for the non-declarant

     defendant makes no objection to the redacted statement, the

     defendant will be deemed to have acceded to the receipt of

     the redacted statement into evidence.

     (h)   A defendant who receives discovery pursuant to this

     Order shall be deemed to have requested such disclosure for

     the purpose of triggering defendant’s reciprocal discovery

     obligations under Rule 16(b), Fed. R. Crim. P.            The defense

     shall have ten (10) days from its receipt of discovery from

     the United States to produce its reciprocal discovery.

     (i)   Any defendant intending to offer a defense of alibi or

     insanity or mental condition shall comply with the

     requirements of Fed. R. Crim. P. 12.1 and 12.2, Fed. R.

     Crim. P.

     2.    Disclosure Declined. If, in the judgment of the United

States Attorney, in order to protect the identity of a

confidential informant or undercover agent, to prevent

interference with an ongoing investigation, to protect the

integrity of the criminal proceeding, or to otherwise serve the

interests of justice, any disclosure set forth in paragraph 1

hereof should not be made, disclosure may be declined, and

defense counsel advised in writing of the declination within

five (5) days of the conference.
Case 2:13-cr-00096-WHW   Document 28   Filed 03/20/13   Page 4 of 8 PageID: 97



     A defendant who seeks to challenge the declination may move

the Court for relief in the following manner:

     (a)   No later than ten (10) days from the time that the

     government declines, the defendant shall file a motion for

     discovery or inspection.

     (b)   The motion shall conform to the schedule set forth in

     paragraph 12 of this Order, unless otherwise ordered by the

     Court.

     (c)   The motion shall set forth:      (1) the statement that

     the prescribed conference was held; (2) the date of the

     conference; (3) the name of the attorney for the United

     States with whom the conference was held; (4) the matters

     which were agreed upon; and (5) the matters which are in

     dispute and which require the determination of the Court.

     (d)   In responding to any such motion, the United States

     must show good cause for the declination of discovery, and

     in doing so may invoke the provisions of Fed. R. Crim. P.

     16(d)(1).

     3.    Rule 404(b) Evidence.   The United States shall provide

notice to the defense of all evidence it intends to offer of

other crimes, wrongs or acts within the meaning of Rule 404(b)

of the Federal Rules of Evidence, not less than ten (10)

calendar days prior to the date of trial, except that for good

cause shown, the Court may excuse such pretrial notice.
Case 2:13-cr-00096-WHW     Document 28   Filed 03/20/13   Page 5 of 8 PageID: 98



     4.   Jencks and Giglio Material.        The United States agrees

to produce all statements within the meaning of the Jencks Act,

18 U.S.C. § 3500, and impeachment evidence within the meaning of

Giglio v. United States, 405 U.S. 150 (1972), sufficiently in

advance of the witness’s testimony to avoid delay in the trial.

Similarly, the defense shall produce reverse Jencks statements

sufficiently in advance of the witness’s testimony to avoid

delay in the trial.

     5.   Continuing Duty.      Any duty of disclosure and discovery

set forth herein is a continuing one and the attorneys for all

parties shall produce any additional discoverable information.

     6.   Exhibits.      The United States shall pre-mark all

exhibits that it intends to introduce as part of its case-in-

chief and shall permit defense counsel to inspect and copy such

exhibits thirty (30) days before trial.          A set of such pre-

marked exhibits with an exhibit list shall be given to the trial

judge’s deputy clerk no later than the first day of trial.                The

defendant’s exhibits shall also be pre-marked and, unless

otherwise ordered by the Court upon the defendant’s application,

shall be disclosed to the United States within seven (7) days

after the United States’ disclosure.         Defense counsel, in an

appropriate case, may apply to the Court for an order requiring

the United States to pre-mark exhibits more than thirty (30)

days in advance of trial.       The United States and the defense
Case 2:13-cr-00096-WHW   Document 28   Filed 03/20/13   Page 6 of 8 PageID: 99



shall also pre-mark all Jencks Act materials and “reverse

Jencks” pursuant to Rule 26.2, Fed. R. Crim. P., so that no

trial delay is encountered.

     7.   Authenticity of Exhibits.      The authenticity of all

exhibits disclosed to and examined by counsel pursuant to the

provisions of paragraph 6 of this Order shall be deemed to have

been accepted by either the defendant or the United States

unless counsel files with the Court fourteen (14) days prior to

the date of trial, a notice that the authenticity of one or more

exhibits will be contested at trial, together with a statement

delineating why the authenticity of the exhibit is being

challenged together with a certification that the challenge to

authenticity is being made in good faith.

     8.   Chain of Possession.    When counsel has examined an

exhibit disclosed prior to trial pursuant to the provisions of

paragraph 6 of this Order, the chain of possession of the

exhibit will be deemed to have been accepted by either the

defendant or the United States unless counsel files with the

Court fourteen (14) days prior to the date of trial, a notice

that the chain of possession of the exhibit will be contested at

trial together with a statement delineating that the chain of

possession of the exhibit is being challenged and a

certification that the challenge to the chain of possession is

being made in good faith.
Case 2:13-cr-00096-WHW   Document 28   Filed 03/20/13   Page 7 of 8 PageID: 100



     9.    Scientific Analysis.    When any party has disclosed the

scientific analysis of an exhibit proposed to be introduced at

trial by that party, which analysis has been determined by an

expert in the field of science involved, then the scientific

analysis of the exhibit will be deemed admitted unless counsel

for a party receiving the disclosure files with the Court,

fourteen (14) days prior to trial, a notice that the scientific

analysis of the exhibit will be contested.

     10.    Other Motions by Defendant.      Motions regarding

defenses or objections permitted pursuant to Rules 12 and 41(e),

Fed. R. Crim. P., including, inter alia, motions for suppression

of evidence, shall be made within thirty (30) days from the date

hereof unless good cause for delay is shown.

     11.    Translations.   In the event that the United States

intends to utilize translations of any conversations, copies or

transcripts of such translations shall be produced for defense

counsel no later than thirty (30) days prior to the date of

trial.     The correctness of any such translation or transcript

will be deemed admitted, unless defense counsel serves and files

with the Court, fourteen (14) days prior to the date of trial, a

notice that counsel objects to the translation or transcript,

specifying the portions thereof to which objection is made and

counsel’s contentions as to the correct translation.
Case 2:13-cr-00096-WHW   Document 28   Filed 03/20/13   Page 8 of 8 PageID: 101



12.   All pretrial motions not otherwise specifically provided

for in this or other Orders of the Court in this case will be

deemed waived unless they are filed and served not later than:

   Defts. motions to be filed by: March 29, 2013

   Gov’t response by: April 10, 2013

   Oral Argument (if necessary): April 15, 2013

   Trial date set for: April 16, 2013



13.   Counsel shall furnish to the Court, five (5) days prior to

the date of trial, requests to charge and proposed voir dire

questions.




                               _S/William H. Walls__
                               UNITED STATES SENIOR DISTRICT JUDGE


DATED: MARCH 20, 2013
